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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN




In re:                                                 Case No 19-03843-jwb
PATRICK JAMES WALKER,                                  Chapter 7
         Debtor.                                       Hon. James W. Boyd
____________________________________


ERIC CORDEIRO SPINETTI S. R.
MATTA and FERNANDA QUINTANILHA,
         Plaintiffs,                                   Adversary Proceeding No 19-80129
v.
PATRICK JAMES WALKER,
         Defendant.
                                               /



                                REQUEST FOR ADJOURNMENT

         Plaintiffs and Defendant are in the process of settling this case and have made substantial

progress. The parties need additional time to finalize the details, therefore they are asking the

Court to adjourn the hearing scheduled in this case on September 3, 2020, for at least 30 days.

         Counsel for the Plaintiffs has obtained the consent and agreement of the Defendant to file

this request for adjournment.




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Dated: 8/26/2020                           /s/Jeff Steinport
                                           Jeff Steinport (P76401)
                                           Attorney for the Plaintiffs
                                           Steinport Law PLC
                                           38 Fulton St W Ste 400
                                           Grand Rapids, MI 49503
                                           616-293-5056
                                           j@sl.je




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